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         Robert Lowney
                                    CENTRAL VIOLATIONS BUREAU
                                                                               OFf \C'~Te~~. ~~)~ann
          DCADChief                                                                        Branch Chief
                                            P.O. Box 780549
                                         San Antonio, TX 78278                         (800) 827-2982
                                                                                     FAX: (210) 301-6401




The following has been received at the Central Violations Bureau and is being forwarded to your court for
further action. If you have any further questions, please call (800) 827-2982, ext 6408

District: DISTRICT OF NEBRASKA

Location Code: NE 17                       Citation Number(s): W0900896
                 ----

   LINC        Hearing Site                The location where the citation is scheduled.

04/07/2011     TicketlDocket Date          The date the citation is scheduled for court.

               Protest                     The defendant is requesting a court date to protest the citation.

               Correspondence              The defendant is providing correspondence for the court to
                                           consider regarding the citation.

               Miscellaneous               See Remarks Section

Remarks:
Agency request for void of citation(s).




                                                                                April 8, 2011
                                                                                Date


               Dismissal Approved

               Further action to be taken by CVB or Agency, please specify:




                           A TRADITION OF SERVICE TO THE FEDERAL JUDICIARY
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     SERVICB
                                SA Mike Damico
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                      U. S. FISH AND WILDLIFE SERVICE
                      OFFICE OF LAW ENFORCEMENT
                                  Box 1086
                      NORTH PLATTE, NEBRASKA 69103
                            PHONE! (308) 534-0925
                               FAX: (308) 532-2723
DATE: 04/04111


Central Violations Bureau
P.O. Box 780549
San Antonio, TX 78278-0549


To Whom It May Concern,

My name is Mike Damico. I am a Special Agent with the US Fish & Wildlife Service,
Department of the Interior. My CVB Location Code is NE17.

This letter is my request that you void the Violation Notice, w0900896, that was issued to
Headwaters Corporation, 4111 4th Avenue, Suite 6, Kearney, Nebraska. This Violation Notice
was issued February17th, 2011, and I was the issuing officer.

This action is necessary due to additional considerations which have come to my attention during
the course of the investigation.

Thank you for your assistance in this matter.

Please feel free to call at 308/534-0925, if I can be of further assistance.




SA Mike Damico
        4:11-cb-03002-CRZ
Violation Image                    Doc # 10         Filed: 04/21/11                   Page 3 of 3 - Page ID # 29
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                       u.s. Fish and Wildlife Service
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                       DEFENDANT fNFOAMATION I Phone ( 3 08) 231 - 5 7 28
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                                        4111 4th Avenue                               Suite 6
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http://cvbweb/CVB/pages/violationsiviewlmageFromFile.jsp                                                                           4/8/2011
